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          12
                                                UNITED STATES DISTRICT COURT
          13                                  NORTHERN DISTRICT OF CALIFORNIA

          14
                 IN RE: FACEBOOK, INC. CONSUMER
          15     PRIVACY USER PROFILE LITIGATION,                          CASE NO. 3:18-MD-02843-VC
          16
                 This document relates to:                                 DEFENDANT MARK ZUCKERBERG’S
          17                                                               CERTIFICATION OF INTERESTED
                 Comforte et al. v. Cambridge Analytica, et al.,           ENTITIES
          18     Case No. 3:18-CV-03394-VC

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                         Pursuant to Civil Local Rule 3-15, and through his counsel, Defendant Mark Zuckerberg cer-
          21
                 tifies that, other than the named parties in this action, he knows of no persons, associations of per-
          22
                 sons, firms, partnerships, corporations (including parent corporations), or other entities that have ei-
          23
                 ther: (i) a financial interest in the subject matter in controversy or in a party to the proceeding; or (ii)
          24
                 any other kind of interest that could be substantially affected by the outcome of the proceeding.
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Gibson, Dunn &
Crutcher LLP
                              DEFENDANT MARK ZUCKERBERG’S CERTIFICATION OF INTERESTED ENTITIES
                                                 CASE NO. 3:18-MD-02843-VC
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            2    Dated: June 29, 2018              Respectfully submitted,
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                                               CASE NO. 3:18-MD-02843-VC
